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 8
     S.M.O and C.D.O., through their guardian ad litem Lucy Corral
 9
                           UNITED STATES DISTRICT COURT
10
                          CENTRAL DISTRICT OF CALIFORNIA
11
12   Joe Ortiz, Sr., Joe Andrew Ortiz,         ) Case No.:
                                               )
     individually and as successors in         )
13                                             )
     interest to Joe Ortiz, Jr.; S.M.O. and
14   C.D.O., minors by and through their       ) COMPLAINT FOR DAMAGES
                                               )
15
     guardian ad litem, Lucy Coral,            ) DEMAND FOR JURY TRIAL
     individually and as successors in         )
16
                                               )
     interest to Joe Ortiz, Jr.; Nancy Ortiz, )
17   individually and as a successor in        )
                                               )
     interest to Joe Ortiz, Jr.; I.H., J.O.,   )
18   J.P.O, and N.O., minors, by and through )
                                               )
19   their guardian ad litem Nancy Ortiz,      )
     individually and as successors in         )
20
     interest to Joe Ortiz, Jr.; the Estate of )
                                               )
21   Joe Ortiz, Jr., by and through his        )
     successors in interest.                   )
22                                             )
                                               )
23                        Plaintiffs,          )
            v.                                 )
24                                             )
                                               )
25   City of San Bernardino, Dominick)
26
     Martinez and Does 1 through 10,)
     inclusive,                                )
                                               )
27
                         Defendants.
28


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 1   (Representation continued on page 2)

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13   through their guardian ad litem Nancy Ortiz
14
15
                                              COMPLAINT

16      Plaintiffs Joe Ortiz, Sr., Joe Andrew Ortiz, individually and as successors in interest to

17   Joe Ortiz, Jr., minor Plaintiffs S.M.O. and C.D.O., by and through their guardian ad
18   litem, Lucy Coral, individually and as successors in interest to Joe Ortiz, Jr.; Nancy Ortiz,
19   individually and as a successor in interest to Joe Ortiz, Jr.; minor Plaintiffs I.H., J.O.,
20   J.P.O, and N.O., by and through their guardian ad litem Nancy Ortiz, individually and as
21   successors in interest to Joe Ortiz, Jr. and the Estate of Joe Ortiz, Jr., allege as follows:
22                                                    I.
23                                          INTRODUCTION
24      1.     On October 11, 2015, Defendant City of San Bernardino’s police officer,
25             Defendant Dominick Martinez, crashed his police car into the bicycle that Joe
26             Ortiz, Jr. was riding, knocking him to the ground in an alleyway. Defendant
27             Martinez then exited his vehicle, shot and killed Joe Ortiz, Jr. while he lay on
28             the ground unarmed.

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 1     2.    This lawsuit seeks to prove the Defendants responsible for violating various
 2           rights under the United States Constitution, the California Constitution, federal
 3           and California state law by their conduct towards Joe Ortiz, Jr. The decedent’s
 4           surviving family seeks wrongful death and punitive damages from the
 5           Defendants.
 6     3.    Defendants Dominick Martinez and DOES 1-5 ("DOE OFFICERS")
 7           proximately caused Joe Ortiz Jr.’s death and Plaintiffs' injuries by firing the
 8           shots that killed him, by integrally participating or failing to intervene in the
 9           shooting, and by engaging in other acts and/ or omissions around the time of the
10
             shooting that resulted in his death.
11
       4.    Defendant City of San Bernardino (Hereinafter also referred to as "CITY") and
12
             DOES 6-10 also proximately caused Joe Ortiz Jr.’s and Plaintiffs' injuries.
13
             These Defendants are liable under state law, federal law and under principles
14
             set forth in Monell v. Department of Social Services, 436 U.S. 658 (1978).
15
       5.    This civil rights action is in the public interest because the Plaintiffs will
16
             discover and challenge the policies, procedures and customs behind shootings
17
             of civilians such as Joe Ortiz, Jr. These policies, procedures and customs are
18
             fundamentally unconstitutional and constitute a menace of major proportions to
19
             the public because they kill unarmed people and are enforced disproportionately
20
             by race. The Plaintiffs seek to hold accountable those responsible for killing Joe
21
             Ortiz, Jr.
22
                                                    II.
23
                                              PARTIES
24
       6.    At all relevant times, Joe Ortiz, Jr. was an individual residing in San
25
26
             Bernardino, California.

27     7.    Plaintiff Joe Andrew Ortiz is an individual residing in San Bernardino,

28           California, and is the natural born child of Joe Ortiz, Jr. He sues in both his

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 1           individual capacity as the child of Mr. Ortiz and in a representative capacity as
 2           a successor-in-interest to Joe Ortiz, Jr. pursuant to California Civil Code §
 3           377.32. Joe Andrew Ortiz seeks both survivorship and wrongful death damages
 4           under federal and state law as well as damages resulting from the violation of
 5           his civil rights under 42 USC 1983.
 6     8.    Plaintiff S.M.O. is a minor individual residing in San Bernardino, California
 7           and is the natural born child of the Mr. Ortiz Joe Ortiz, Jr. S.M.O. sues by and
 8           through his guardian ad litem, Lucy Corral, both in his individual capacity as
 9           the child of Mr. Ortiz and in a representative capacity as a successor-in-interest
10
             to Joe Ortiz, Jr. pursuant to California Civil Code § 377.32. S.M.O. seeks both
11
             survivorship and wrongful death damages under federal and state law as well as
12
             damages resulting from the violation of his civil rights under 42 USC 1983.
13
       9.    Plaintiff C.D.O. is a minor individual residing in San Bernardino, California
14
             and is the natural born child of the Mr. Ortiz Joe Ortiz, Jr.. C.D.O. sues by and
15
             through his guardian ad litem, Lucy Corral, both in his individual capacity as
16
             the child of Mr. Ortiz and in a representative capacity as a successor-in-interest
17
             to Joe Ortiz, Jr. pursuant to California Civil Code § 377.32. C.D.O. seeks both
18
             survivorship and wrongful death damages under federal and state law as well as
19
             damages resulting from the violation of his civil rights under 42 USC 1983.
20
       10.   Plaintiff Joe Ortiz, Sr. is a natural person that resides in San Bernardino, CA
21
             and sues both in his individual capacity as the father of Mr. Ortiz and in a
22
             representative capacity as a successor-in-interest to Joe Ortiz, Jr. pursuant to
23
             California Civil Code § 377.32. Joe Ortiz, Sr. seeks both survivorship and
24
             wrongful death damages under federal and state law as well as damages
25
26
             resulting from the violation of his civil rights under 42 USC 1983.

27     11.   Plaintiff Nancy Ortiz is a natural person that resides in San Bernardino, CA and

28           sues both in her individual capacity as the wife of Mr. Ortiz and in a

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 1           representative capacity as a successor-in-interest to Joe Ortiz, Jr. pursuant to
 2           California Civil Code § 377.32. Joe Ortiz, Sr. seeks both survivorship and
 3           wrongful death damages under federal and state law as well as damages
 4           resulting from the violation of his civil rights under 42 USC 1983.
 5     12.   Plaintiff I.H. is a minor individual residing in San Bernardino, California and is
 6           the natural born child of Joe Ortiz, Jr. I.H. sues by and through her guardian ad
 7           litem, Nancy Ortiz, both in her individual capacity as the child of Mr. Ortiz and
 8           in a representative capacity as a successor-in-interest to Joe Ortiz, Jr. pursuant
 9           to California Civil Code § 377.32. I.H. seeks both survivorship and wrongful
10
             death damages under federal and state law as well as damages resulting from
11
             the violation of his civil rights under 42 USC 1983.
12
       13.   Plaintiff J.O. is a minor individual residing in San Bernardino, California and is
13
             the natural born child of Joe Ortiz, Jr. J.O. sues by and through her guardian ad
14
             litem, Nancy Ortiz, both in her individual capacity as the child of Mr. Ortiz and
15
             in a representative capacity as a successor-in-interest to Joe Ortiz, Jr. pursuant
16
             to California Civil Code § 377.32. J.O. seeks both survivorship and wrongful
17
             death damages under federal and state law as well as damages resulting from
18
             the violation of his civil rights under 42 USC 1983.
19
       14.   Plaintiff J.P.O. is a minor individual residing in San Bernardino, California and
20
             is the natural born child of Joe Ortiz, Jr. J.P.O. sues by and through her
21
             guardian ad litem, Nancy Ortiz, both in his individual capacity as the child of
22
             Mr. Ortiz and in a representative capacity as a successor-in-interest to Joe Ortiz,
23
             Jr. pursuant to California Civil Code § 377.32. J.P.O. seeks both survivorship
24
             and wrongful death damages under federal and state law as well as damages
25
26
             resulting from the violation of his civil rights under 42 USC 1983.

27     15.   Plaintiff N.O. is a minor individual residing in San Bernardino, California and

28           is the natural born child of Joe Ortiz, Jr. N.O. sues by and through her guardian

                                                -5-
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 1           ad litem, Nancy Ortiz, both in her individual capacity as the child of Mr. Ortiz
 2           and in a representative capacity as a successor-in-interest to Joe Ortiz, Jr.
 3           pursuant to California Civil Code § 377.32. N.O. seeks both survivorship and
 4           wrongful death damages under federal and state law as well as damages
 5           resulting from the violation of his civil rights under 42 USC 1983.
 6     16.   Defendants Dominick Martinez and DOES 1 THROUGH 5 (“DOE
 7           OFFICERS”) are police officers for the Defendant City of San Bernardino’s
 8           Police Department ("SBPD"). At all times relevant to this complaint, the DOE
 9           OFFICERS were acting under color of law within the course and scope of their
10
             duties as police officers for the SBPD. The DOE OFFICERS were acting with
11
             the complete authority and ratification of their principal, Defendant City of San
12
             Bernardino.
13
       17.    Defendants DOES 6-8 are supervisorial officers for the SBPD who were acting
14
             under color of law within the course and scope of their duties as police officers
15
             for the SBPD. DOES 6-8 were acting with the complete authority and
16
             ratification of their principal, Defendant City of San Bernardino.
17
       18.   Defendants DOES 9-10 are managerial, supervisorial, and policymaking
18
             employees of the SBPD, who were acting under color of law within the course
19
             and scope of their duties as managerial, supervisorial, and policymaking
20
             employees for the SBPD. DOES 9-10 were acting with the complete authority
21
             and ratification of their principal, Defendant City of San Bernardino.
22
       19.   At all relevant times, the Defendant City of San Bernardino is and was a duly
23
             organized public entity, form unknown, existing under the laws of the State of
24
             California. The city is a chartered subdivision of the State of California with
25
26
             the capacity to be sued. The city is responsible for the actions, omissions,

27           policies, procedures, practices, and customs of its various agents and agencies,

28           including the SBPD and its agents and employees. At all relevant times,

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 1           Defendant City was responsible for assuring that the actions, omissions,
 2           policies, procedures, practices, and customs of the SBPD and its employees and
 3           agents complied with the laws of the United States and of the State of
 4           California. At all relevant times, the City was the employer of Defendant
 5           Dominick Martinez and DOES 1-10.
 6     20.   In doing the acts and failing and omitting to act as hereinafter described,
 7           Defendants DOE OFFICERS were acting on the implied and actual permission
 8           and consent of supervisory Defendants DOES 6-10.
 9     21.   In doing the acts and failing and omitting to act as hereinafter described,
10
             Defendants DOES 1-10 were acting on the implied and actual permission and
11
             consent of the Defendant City.
12
       22.   The true names and capacities, whether individual, corporate, association or
13
             otherwise of Defendants DOES 1-10, inclusive, are unknown to Plaintiffs, who
14
             otherwise sue these Defendants by such fictitious names. Plaintiffs will seek
15
             leave to amend this complaint to show the true names and capacity of these
16
             Defendants when they have been ascertained. Each of the fictitiously-named
17
             Defendants is responsible in some manner for the conduct or liabilities alleged
18
             herein.
19
       23.   At all times mentioned herein, each and every Defendant was the agent of each
20
             and every other Defendant and had the legal duty to oversee and supervise the
21
             hiring, conduct, and employment of each and every Defendant.
22
       24.   All of the acts complained of herein by Plaintiffs against Defendants were done
23
             and performed by said Defendants by and through their authorized agents,
24
             servants, and/or employees, all of whom at all relevant times herein were acting
25
26
             within the course, purpose, and scope of said agency, service, and/or

27           employment capacity. Moreover, Defendants and their agents ratified all of the

28           acts complained of herein.

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 1     25.   All Defendants who are natural persons, including Dominick Martinez and
 2           DOES 1-10, are sued individually and/or in his/her official capacity as officers,
 3           sergeants, captains, commanders, supervisors, and/or civilian employees,
 4           agents, policy makers, and representatives for the SBPD.
 5     26.   Joe Ortiz, Jr. died as a direct and proximate result of the actions of Defendants
 6           Dominick Martinez and DOE OFFICERS 1 through 10. Defendants DOE
 7           OFFICERS 1 through 10 are directly liable for Plaintiffs' injuries under federal
 8           law pursuant to 42 U.S.C. § 1983.
 9     27.   Defendants City of San Bernardino and DOES 6-10 are liable for Plaintiffs'
10
             injuries under California law and under the doctrine of respondeat superior.
11
             Liability under California law for public entities and public employees is based
12
             upon California Government Code §§ 815.2, 820, and 820.8.
13
       28.   Plaintiffs complied with the California Tort Claims Act by filing a timely claim
14
             with the City that was rejected in fact or by operation of law.
15
                                                III.
16
                                JURISDICTION AND VENUE
17
       29.   This civil action is brought for the redress of alleged deprivations of
18
             constitutional rights as protected by 42 U.S.C. §§ 1983, 1985, 1986, 1988, and
19
             the Fourth and Fourteenth Amendments of the United States Constitution.
20
             Jurisdiction is founded on 28 U.S.C. §§ 1331, 1343, and 1367.
21
       30.   Venue is proper in this Court under 28 U.S.C. § 1391(b) because all incidents,
22
             events, and occurrences giving rise to this action occurred in the City of San
23
             Bernardino, California.
24
       31.   With respect to Plaintiffs’ supplemental state claims, Plaintiffs request that this
25
26
             court exercise supplemental jurisdiction over such claims as they arise from the

27           same facts and circumstances which underlie the federal claims.

28           //

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 1                                              IV.
 2                  FACTS COMMON TO ALL CLAIMS FOR RELIEF
 3     32.   Plaintiffs repeat and re-allege each and every allegation in the preceding
 4           paragraphs of this complaint with the same force and effect as if fully set forth
 5           herein.
 6     33.   On October 11, 2015 the Defendant Dominick Martinez was on-duty, operating
 7           his San Bernardino police car when he crashed it into Joe Ortiz’s bicycle,
 8           throwing Mr. Ortiz to the ground of an alleyway. As Mr. Ortiz lay on the
 9           alleyway, under the police vehicle, Defendant Martinez shot and killed him. Joe
10
             Ortiz was unarmed.
11
       34.   The decedent, Joe Ortiz, Jr., sustained serious injuries before his death,
12
             including but not limited to pain and suffering when he was knocked to the
13
             ground off of his bicycle by Defendant Martinez’s car, the pain and suffering
14
             continued and intensified as Mr. Ortiz was shot by Defendant Martinez
15
             repeatedly and continued until he died. Defendant Martinez was at all times
16
             relevant here employed with the San Bernardino Police Department and was
17
             acting within course and scope of his duties as a police officer and acting under
18
             color of law. Defendants DOES 1-10, inclusive, integrally participated in or
19
             failed to intervene in the use of force.
20
       35.   The use of force against Mr. Ortiz was excessive and objectively unreasonable
21
             under the circumstances, especially because at all relevant times Mr. Ortiz was
22
             unarmed and did not pose a threat to anyone, including Defendant Martinez.
23
       36.   After being knocked to the ground with the police car, Mr. Ortiz was immobile,
24
             bleeding, and in obvious and critical need of emergency medical care and
25
26
             treatment. Defendants did not timely summon medical care or permit medical

27           personnel to treat Mr. Ortiz, both before and after he was shot by Defendant

28           Martinez. The delay of medical care to the Mr. Ortiz caused him extreme

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 1            physical and emotional pain and suffering, and was a contributing cause of his
 2            death.
 3                                                 V.
 4                                FIRST CLAIM FOR RELIEF
 5                  Unreasonable Search and Seizure-Detention and Arrest
 6                                        42 U.S.C. § 1983
 7              Against Defendant Dominick Martinez and DOES 1 through 5
 8      37.   Plaintiffs repeat and re-allege each and every allegation above with the same
 9            force and effect as if fully set forth herein.
10
        38.   When Defendant Martinez and DOES 1 through 10 hit Mr. Ortiz’s bicycle and
11
              caused him to fall off the bicycle onto the alleyway and then shot Mr. Ortiz, as
12
              he lay unarmed and injured then placed him in handcuffs, they violated his right
13
              to be secure in his person against unreasonable searches and seizures as
14
              guaranteed to the him under the Fourth Amendment to the United States
15
              Constitution and applied to state actors by the Fourteenth Amendment.
16
        39.   As a result of their misconduct, Defendants Martinez and DOES 1 to 5 are
17
              liable for Mr. Ortiz’s injuries, either because they were an integral participant in
18
              the wrongful detention and arrest, or because they failed to intervene to prevent
19
              these violations.
20
        40.   Defendant Martinez and DOES 1 through 5 detained Mr. Ortiz without
21
              reasonable suspicion and arrested him without probable cause.
22
        41.   The conduct of Defendant Martinez and DOES 1 through 5 were willful,
23
              wanton, malicious, and acted with reckless disregard for the rights and safety of
24
              Mr. Ortiz and therefore warrants the imposition of exemplary and punitive
25
26
              damages as to Defendant Martinez and DOES 1 Through 5.

27
28


                                                  -10-
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 1      42.   Plaintiffs bring this claim as successors-in-interest to Mr. Ortiz, and in each
 2            case seek both survivorship and wrongful death damages for the violation of
 3            Mr. Ortiz’s rights. Said Plaintiffs also seek attorney fees under this claim.
 4                                                VI.
 5                               SECOND CLAIM FOR RELIEF
 6                     Unreasonable Search and Seizure-Excessive Force
 7                                        42 U.S.C. § 1983
 8         Against Defendant Dominick Martinez and Defendants Does 1 through 5
 9      43.   Plaintiffs repeat and re-allege each and every allegation above with the same
10
              force and effect as if fully set forth herein.
11
        44.   Defendant Martinez and DOES 1 Through 5 unjustified shooting deprived Mr.
12
              Ortiz of his right to be secure in his person against unreasonable searches and
13
              seizures as guaranteed to Mr. Ortiz under the Fourth Amendment to the United
14
              States Constitution and applied to state actors by the Fourteenth Amendment.
15
        45.   As a result, Mr. Ortiz suffered extreme pain and suffering and eventually died.
16
              Plaintiffs are, therefore, deprived of the life-long love, companionship, comfort,
17
              support, society, care, and sustenance of Mr. Ortiz, and will continue to be so
18
              deprived for the remainder of their natural lives. Plaintiffs also claim funeral
19
              and burial expenses and a loss of financial support.
20
        46.   The shooting was excessive and unreasonable, especially because Mr. Ortiz had
21
              not threatened to cause physical injury to Defendant Martinez and DOES 1
22
              Through 5 or any other person; in fact, Mr. Ortiz was unarmed.
23
        47.   Defendants Martinez and DOES 1 Through 5 shooting and use of force violated
24
              their training was willful, wanton, malicious, and done with reckless disregard
25
26
              for the rights and safety of Mr. Ortiz, and therefore warrants the imposition of

27            exemplary and punitive damages as to individual Defendant Martinez and

28            DOES 1 Through 5.

                                                  -11-
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 1      48.   Plaintiffs bring this claim as successors-in-interest to Mr. Ortiz, and in each
 2            case seek both survivorship and wrongful death damages for the violation of
 3            Mr. Ortiz’s rights. Said Plaintiffs also seek attorney fees under this claim.
 4                                                       VII.
 5                                     THIRD CLAIM FOR RELIEF
 6                                          Substantive Due Process
 7                                              42 U.S.C. § 1983
 8                   Against Defendant Dominick Martinez and DOES 1 Through 5
 9      49.   Plaintiffs repeat and re-allege each and every allegation above with the same
10
              force and effect as if fully set forth herein.
11
        50.   Plaintiffs each had a cognizable interest under the Due Process Clause of the
12
              Fourteenth Amendment of the United States Constitution to be free from state
13
              actions that deprive them of life, liberty, or property in such a manner as to
14
              shock the conscience, including but not limited to unwarranted state
15
              interference in Plaintiffs familial relationship with Mr. Ortiz.
16
        51.   Mr. Ortiz had a cognizable interest under the Due Process Clause of the
17
              Fourteenth Amendment to the United States Constitution to be free from state
18
              actions that deprive him of his right to life, liberty, or property in such a manner
19
              as to shock the conscience.
20
        52.   The aforementioned actions of Defendant Martinez and DOES 1 Through 5,
21
              along with other undiscovered conduct, shock the conscience, in that they acted
22
              with deliberate indifference to the constitutional rights of Mr. Ortiz and
23
              Plaintiffs, and with purpose to harm unrelated to any legitimate law
24
              enforcement objective.
25
26
        53.   Defendant Martinez and DOES 1 Through 5 thus violated the substantive due

27            process rights of Plaintiffs to be free from unwarranted interference with their

28            familial relationship with Mr. Ortiz.

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 1      54.   As a direct and proximate cause of the acts of Defendant Martinez and DOES 1
 2            Through 5, Mr. Ortiz experienced severe pain and suffering and lost his life and
 3            earning capacity. Plaintiffs suffered extreme and severe mental anguish and
 4            pain and have been injured in mind and body. Plaintiffs have also been
 5            deprived of the life-long love, companionship, comfort, support, society, care,
 6            and sustenance of Mr. Ortiz, and will continue to be so deprived for the
 7            remainder of their natural lives. Plaintiffs are also claiming funeral and burial
 8            expenses and a loss of financial support.
 9      55.   The conduct of Defendant Martinez and DOES 1 Through 5 was willful,
10
              wanton, malicious, and done with reckless disregard for the rights and safety of
11
              Mr. Ortiz and Plaintiffs and therefore warrants the imposition of exemplary and
12
              punitive damages as to Defendants Martinez and DOES 1 Through 5.
13
        56.   Plaintiffs bring this claim individually and seek damages for the violation of
14
              their constitutional rights to a familial relationship with Mr. Ortiz. Plaintiffs
15
              also seek attorney fees under this claim.
16
                                                     VIII.
17
                                   FIFTH CLAIM FOR RELIEF
18
                  Municipal Liability for Unconstitutional Custom or Policy
19
                                           42 U.S.C. § 1983
20
                  Against Defendant City of San Bernardino and DOES 6-10
21
        57.   Plaintiffs repeat and re-allege each and every above with the same force and
22
              effect as if fully set forth herein.
23
        58.   On information and belief, Defendant Martinez and DOES 1 Through 5
24
              unjustified shooting of Mr. Ortiz was found to be within SBPD policy.
25
26
        59.   On information and belief, Defendants Defendant Martinez and DOES 1

27            Through 5 unjustified shooting of Mr. Ortiz was ratified by SBPD supervisorial

28            officers.

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 1       60.   On information and belief, Defendants Defendant Martinez and DOES 1
 2             Through 5 were not disciplined for the unjustified shooting Mr. Ortiz.
 3       61.   On and for some time prior to October 10, 2015 (and continuing to the present
 4             date), Defendants City and DOES 6-10, acting with gross negligence and with
 5             reckless and deliberate indifference to the rights and liberties of the public in
 6             general, and of Plaintiffs and Mr. Ortiz, and of persons in their class, situation
 7             and comparable position in particular, knowingly maintained, enforced and
 8             applied an official recognized custom, policy, and practice of:
 9                 (a)   Employing and retaining as police officers and other personnel,
10
      including DOE OFFICERS, whom Defendants City and DOES 6-10 at all times material
11
      herein knew or reasonably should have known had dangerous propensities for abusing
12
      their authority and for mistreating citizens by failing to follow written SBPD policies,
13
      including the use of excessive force;
14
                   (b)   Of inadequately supervising, training, controlling, assigning, and
15
      disciplining their police officers and other personnel, including Defendant Martinez and
16
      DOES 1 Through 5, whom Defendants City and DOES 6-10 knew or in the exercise of
17
      reasonable care should have known had the aforementioned propensities and character
18
      traits, including the propensity for violence and the use of excessive force;
19
                   (c)   By maintaining grossly inadequate procedures for reporting,
20
      supervising, investigating, reviewing, disciplining and controlling the intentional
21
      misconduct by Defendants Defendant Martinez and DOES 1 Through 5, who are police
22
      officers and/or agents of City;
23
                   (d)   By failing to discipline its police officers and/or agents' conduct,
24
      including but not limited to, unlawful detention and excessive force;
25
26
                   (e)   By ratifying the intentional misconduct of Defendant Martinez and

27    DOES 1 Through 5, and other police officers and/ or agents, who are police officers

28    and/or agents of Defendant City;

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 1                 (f)    By having and maintaining an unconstitutional policy, custom, and
 2    practice of detaining and arresting individuals without probable cause or reasonable
 3    suspicion, and using excessive force, including deadly force, which also is demonstrated
 4    by inadequate training regarding these subjects. The policies, customs, and practices of
 5    Defendants CITY and DOES 6-10 were maintained with a deliberate indifference to
 6    individuals' safety and rights; and
 7                 (g)    By failing to properly investigate claims of unlawful detention and
 8    excessive force by its police officers.
 9                 (h)    Improperly training officers on, and maintaining inadequate policies
10
      regarding, the proper following, stopping and detaining pedestrians and person on
11
      bicycles such that officers created contact with bicycles or individuals with their police
12
      cars and causing those person injuries or death.
13
         62.    By reason of the aforementioned policies and practices of Defendant City and
14
                DOES 6-10, Mr. Ortiz was severely injured and subjected to pain and suffering
15
                and lost his life.
16
         63.    Defendants City and DOES 6-10, together with various other officials, whether
17
                named or unnamed, had either actual or constructive knowledge of the deficient
18
                policies, practices and customs alleged in the paragraphs above. Despite having
19
                knowledge as stated above, these defendants condoned, tolerated and through
20
                actions and inactions thereby ratified such policies. Said defendants also acted
21
                with deliberate indifference to the foreseeable effects and consequences of these
22
                policies with respect to the constitutional rights of Mr. Ortiz, Plaintiffs, and
23
                other individuals similarly situated.
24
         64.    By perpetrating, sanctioning, tolerating and ratifying the outrageous conduct
25
26
                and other wrongful acts, Defendants DOES 6-10 acted with intentional,

27              reckless, and callous disregard for the life of Mr. Ortiz and for Mr. Ortiz's and

28              Plaintiffs' constitutional rights. Furthermore, the policies, practices, and

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 1            customs implemented, maintained, and still tolerated by Defendants CITY and
 2            DOES 6-10 were affirmatively linked to and were a significantly influential
 3            force behind the injuries of Mr. Ortiz and Plaintiffs.
 4      65.   The actions of each of Defendants DOES 6-10 were willful, wanton,
 5            oppressive, malicious, fraudulent, and extremely offensive and unconscionable
 6            to any person of normal sensibilities, and therefore warrants the imposition of
 7            exemplary and punitive damages as to Defendants DOES 6-10.
 8      66.   By reason of the aforementioned acts and omissions of Defendant City and
 9            DOES 6-10, Plaintiffs were caused to incur funeral and related burial expenses,
10
              and loss of financial support.
11
        67.   By reason of the aforementioned acts and omissions of Defendant City and
12
              DOES 6-10, Plaintiffs have suffered loss of love, companionship, affection,
13
              comfort, care, society, and future support.
14
        68.   Accordingly, Defendants City and DOES 6-10 each are liable to Plaintiffs for
15
              compensatory damages under 42 U.S.C. § 1983.
16
        69.   Plaintiffs seek both wrongful death damages and survivorship damages under
17
              this claim. Plaintiffs also seek attorney fees under this claim.
18
                                                 IX.
19
                                 SIXTH CLAIM FOR RELIEF
20
                                          NEGLIGENCE
21
                                      Against all Defendants
22
        70.   Plaintiffs re-allege and incorporate the foregoing paragraphs as if set forth
23
              herein.
24
        71.   This cause of action arises under the general laws and Constitution of the State
25
26
              of California. Plaintiffs have complied with the California Tort Claims Act

27            requirements.

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 1      72.   Defendant Defendant Martinez, while working as police officers of the SBPD,
 2            and acting within the course and scope of his duties, employed negligent tactics
 3            and intentionally and/or without due care when he caused his police car to
 4            collide with Plaintiff’s bicycle. In addition, Defendant Martinez decision to
 5            shoot Mr. Ortiz was negligent in that Mr. Ortiz never posed a threat to him or
 6            anyone else. As a result of these intentional acts and negligence, Plaintiff
 7            suffered serious injuries. Defendant Martinez had no legal or reasonable
 8            justification for his actions.
 9      73.   Defendant Martinez received inadequate training from the SBPD in the proper
10
              manner to operate his police vehicle and on when and how to use force. As a
11
              direct and proximate result of this failure to provide such adequate use of force
12
              training to Defendant Martinez, Mr. Ortiz was killed. Causing the present
13
              Plaintiffs, the losses and injuries herein complained.
14
        74.   Defendants City of San Bernardino also negligently retained Defendant
15
              Martinez, when it was known or should have been known by Defendants City
16
              of San Bernardino that said Defendants had on prior occasions improperly
17
              operated a police car or created violent confrontations resulting in serious
18
              injury, including death.
19
        75.   At the time of the facts alleged above, Defendants City of San Bernardino
20
              negligently and carelessly had in place, and had ratified customs and practices
21
              which permitted their officers while on duty and while off duty to operate their
22
              police cars without care as to their causing injury to property or people,
23
              including Defendant Martinez’s driving, without taking any action to discipline
24
              or prevent negligent driving, including crashing into other objects and injuring
25
26
              people.

27      76.   Said policies, procedures, customs and practices also called for Defendants City

28            of San Bernardino not to meaningfully discipline, prosecute or in any way deal

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 1            with or respond to known incidents, complaints, and instances of the deliberate
 2            and reckless creation of improperly operating police cars and also of violent
 3            confrontations between police officers of the SBPD.
 4      77.   Other systemic deficiencies which indicated, and continue to indicate, a
 5            negligent and careless disregard by Defendants City of San Bernardino to the
 6            violations of the civil rights by the police officers of the SBPD, include:
 7            a. preparation of investigative reports designed to vindicate the use of force
 8               against persons with mental illness, regardless of whether such acts were
 9               justified;
10
              b. preparation of investigative reports which uncritically rely solely on the
11
                 word of officers involved in the aforementioned confrontations and which
12
                 systematically fail to credit testimony by non-officer witnesses;
13
              c. preparation of investigative reports which omit factual information and
14
                 physical evidence which contradicts the accounts of the involved officers;
15
                 and
16
              d. issuance of public statements exonerating officers and other personnel
17
                 involved in such incidents prior to the completion of investigations of such
18
                 incidents.
19
        78.   Said negligent customs and practices of Defendants City of San Bernardino
20
              evidenced a deliberate indifference to the unnecessary use of force against
21
              people such as Mr. Ortiz by the failure to change, correct, revoke, or rescind
22
              said customs and practices, and tactic and use of force training in light of prior
23
              knowledge by said Defendants of indistinguishably similar incidents where
24
              tactics, improper driving and use of force caused serious bodily injury to such
25
26
              persons.

27      79.   As a result of the aforementioned negligent and intentional acts, omissions,

28            systematic deficiencies, customs and practices of Defendants City of San

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 1            Bernardino the present Defendant Martinez, with his police vehicle, knocked
 2            Mr. Ortiz off of his bicycle and onto the alleyway.
 3      80.   As a direct and proximate result of the conduct of Defendant Martinez as
 4            alleged above, Plaintiff suffered serious injuries and died.
 5      81.   Defendants City of San Bernardino is vicariously liable for the wrongful,
 6            intentional and/or negligent acts of Defendants Defendant Martinez pursuant to
 7            California Government Code §§ 815.2 , 820 and 820.6 which provides that a
 8            public entity is liable for the injuries caused by its employees within the scope
 9            of the employment if the employee’s act would subject him or her to liability.
10
                                                 XI.
11
                                 SEVENTH CLAIM FOR RELIEF
12
                        Violation of the Bane Act California Civil Code §52.1
13
                                       Against all Defendants
14
        82.   Plaintiff re-alleges and incorporates the foregoing paragraphs as if set forth
15
              herein.
16
        83.   Defendant Martinez and Does 1 through 10 in violation of California Civil
17
              Code §52.1, knowingly interfered, through threats, intimidation, or coercion, or
18
              have attempted to interfere by threats, intimidation, or coercion, with the rights
19
              of the Plaintiffs secured under the Constitution of the State of California and the
20
              United States as outlined above; California Civil Code section 43,
21
        84.   As a direct and proximate result of the unlawful conduct of said defendants, and
22
              each of them, as alleged herein, Plaintiffs’ s decedent, Joe Ortiz, suffered
23
              emotional and physical injuries and, ultimately, died causing these Plaintiffs the
24
              damages set forth above.
25
26
        85.   Defendants Does 1-10, subjected plaintiffs to the aforementioned deprivations

27            by either actual malice or a reckless disregard of Plaintiffs’ rights.

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 1      86.   The aforementioned acts of Defendants Does 1 through 10 was willful, wanton,
 2            malicious, oppressive, and so offensive that it shocks the conscience of any
 3            reasonable person in a civilized society, therefore, justifying the awarding of
 4            exemplary and punitive damages as against the individual defendants, only.
 5                                              XII.
 6                              EIGHTH CLAIM FOR RELIEF
 7                                          BATTERY
 8                                   Against all Defendants
 9      87.   Plaintiffs repeat and re-allege each and every allegation in the paragraphs above
10
              with the same force and effect as though fully set forth herein.
11
        88.   The present cause of action is brought pursuant to section 820 of the California
12
              Government Code which provides that a public employee is liable for injury
13
              caused by his act or omission to the same extent as a private person. The
14
              present claim is also brought pursuant to section 815.2 of the California
15
              Government Code which provides that a public entity is liable for injury
16
              proximately caused by an act or omission of an employee of the public entity
17
              within the scope of his employment if the act or omission would, apart from this
18
              section, have given rise to a cause of action against that employee or his
19
              personal representative. Defendants Martinez and Does 1 and 10, at all times
20
              relevant hereto, were acting in the course and scope of their employment with
21
              Defendant City of San Bernardino.
22
        89.   Defendants Martinez and Does 1 through 10, without cause or provocation
23
              applied unnecessary and excessive force in Defendant Martinez’s police car
24
              striking Joe Ortiz’s bicycle as he rode it causing him to be knocked to the
25
26
              ground in the alleyway and then by shooting Joe Ortiz as he lay on the ground

27            unarmed, as further explained above. As a proximate result of the acts and

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 1                      omissions of all these defendants, and each of them, Plaintiffs suffered the
 2                      death of their son, father and husband.
 3           90.        Joe Ortiz did not consent to the touching.
 4           91.        The actions of these defendants in battering Joe Ortiz as described herein was
 5                      done intentionally and with the deliberate indifference to the pain and suffering
 6                      such conduct would cause Plaintiff. As such, said defendants conduct was so
 7                      odious and despicable that punitive and exemplary damages should be imposed
 8                      against each of them.
 9                                                       XIII.
10
                                                PRAYER FOR RELIEF
11
                   WHEREFORE, Plaintiffs request entry of judgment in their favor and against
12
      Defendants the City of San Bernardino, Defendant Martinez and Does 1-10, inclusive, as
13
      follows:
14
                   1.      For compensatory damages, including both survivorship damages and
15
      wrongful death damages under federal and state law, in the amount to be proven at trial;
16
      2.           For funeral and burial expenses, and loss of financial support;
17
      3.           For punitive damages against the individual defendants in an amount to be
18
                   proven at trial;
19
      4.           For interest;
20
      5.           For treble damages as to the violation of the Bane Act;
21
      5.           For reasonable costs of this suit and attorneys' fees; and
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      ////
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      ////
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      ////

27    ////

28    ////

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 1    6.   For such further other relief as the Court may deem just, proper, and appropriate.
 2
 3    DATED: November 2, 2016              CASILLAS & ASSOCIATES
                                           By /s/Arnoldo Casillas
 4                                         ARNOLDO CASILLAS
 5                                         CHRISTIAN F. PEREIRA
 6
      DATED: November 2, 2016              GUIZAR, HENDERSON & CARRAZCO, L.L.P.
 7
 8                                         By: /s/ Humberto Guizar
                                                  Humberto Guizar
 9                                                Kent Henderson
10                                                Angel Carrazco
11
      DATED: November 2, 2016              LAW OFFICES OF KENNETH L. SNYDER
12
13
                                           By: /s/ Kenneth L. Snyder
                                                  Kenneth L. Snyder
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 1
 2
                                   DEMAND FOR JURY TRIAL

 3    Plaintiffs Joe Ortiz, Sr., and Joe Andrew Ortiz, individually and as a successor in interest

 4    to Joe Ortiz, Jr. , S.M.O. and C.D.O. as minors by and through their guardian ad litem,
 5    Lucy Coral, individually and as successors in interest to Joe Ortiz, Jr., Nancy Ortiz,
 6    individually and as a successor in interest; and minor Plaintiffs I.H., J.O., J.P.O, and
 7    N.O., each through their guardian ad litem Nancy Ortiz hereby demand trial by jury.
 8
 9    DATED: November 2, 2016                 CASILLAS & ASSOCIATES
10                                            By: /s/Arnoldo Casillas
                                              ARNOLDO CASILLAS
11                                            CHRISTIAN F. PEREIRA
12
      DATED: November 2, 2016                 GUIZAR, HENDERSON & CARRAZCO, L.L.P.
13
                                              By: /s/ Humberto Guizar
14                                                   Humberto Guizar
15
                                                     Kent Henderson
                                                     Angel Carrazco
16
17    DATED: November 2, 2016                 LAW OFFICES OF KENNETH L. SNYDER
18                                            By: /s/ Kenneth L. Snyder
19                                                   Kenneth L. Snyder
20
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22
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